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                                                                        U.S. Department of Justice

                                                                        United States Attorney
                                                                        District of New Jersey


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                                                                        August 13, 2021

VIA ECF
Clerk of the Court
United States District Court
District of New Jersey
Martin Luther King Building &
United States Courthouse
50 Walnut Street
Newark, New Jersey 07101

                                   Re:   United States v. Gary Grieser
                                         Criminal No. 99-310

Dear Clerk of the Court:

        I am an Assistant United States Attorney assigned to the Asset Recovery Money
Laundering Unit and I am responsible for the enforcement and collection of the restitution
that was ordered in the above-referenced case. The United States respectfully submits this
letter to request that Clerk of the Court reassign this matter to a District Judge.

      The United States intends to a file a motion in this matter in furtherance of its
responsibility to enforce the ordered restitution. The matter was previously assigned to
Judge Dennis M. Cavanaugh.

       Accordingly, the United States respectfully requests that the Clerk of the Court
reassign this matter to a new District Judge. Thank you for your attention to this matter.

                                                              Respectfully submitted,

                                                              RACHAEL A. HONIG
                                                              Acting United States Attorney


                                                       By:     s/ Jordan M. Anger
                                                              JORDAN M. ANGER
                                                              Assistant United States Attorney
